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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA                           *

v.                                                 *              Crim. No. PX-19-0181

RONDELL HENRY                                      *



                            NOTICE OF INSANITY DEFENSE



       The Defendant, Rondell Henry, through counsel, James Wyda, Federal Public Defender

for the District of Maryland, and Christian Lassiter, Assistant Federal Public Defender, hereby

provide notice under Federal Rules of Criminal Procedure Rule 12.2(a) of an Insanity Defense.



                                            Respectfully submitted,

                                            JAMES WYDA
                                            Federal Public Defender
                                             for the District of Maryland


April 29, 2022                                             /s/
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